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 9
                                   UNITED STATES DISTRICT COURT
10                                EASTERN DISTRICT OF CALIFORNIA

11

12    United States of America,                            No. 2:12-CV-02334-TLN-DB

13                       Plaintiff,                        STEVKO DECLARATION IN SUPPORT
                                                           OF REPLY TO MOTION TO EXCUSE
14           v.                                            THE UNITED STATES FROM
                                                           SANCTIONS FOR FAILURE TO COMPLY
15    L. Richard Shearer; Diane Shearer; Stanley           WITH RULE 26(a)
      Swenson as Trustee of the Hotlum Trust,
16    Berryvale Trust, and Regency Trust; et al.;

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                         Defendants.
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19
     I, Alexander Stevko, pursuant to 28 U.S.C. § 1746, declare that:
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            1.      I am a trial attorney for the United States Department of Justice, Tax Division. In
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     my capacity as a trial attorney with the Department of Justice Tax Division, I have been assigned
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     litigation responsibilities for representing the United States in the above-captioned case.
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            2.      As part of my litigation responsibilities, I have reviewed the case record and
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     internal documents maintained by the United States through the course of litigation. I make the
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     statements in this declaration from my review of the case file maintained by the United States in
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     connection with this case.
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            3.      Attached as Exhibit 7 are excerpts from the deposition of Richard Shearer taken on
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     June 3, 2014, and a sampling of exhibits (7, 24, and 33) cited during the deposition. This is only a
 3
     sampling, and each exhibit listed in the deposition exhibit sheet was shown and discussed during
 4
     the deposition. The exhibits attached as part of Exhibit 7 have been redacted for filing purposes –
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     the versions used in deposition were not redacted. In total there were 34 exhibits identified by
 6
     Bates numbers used in the deposition.
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            4.      Attached as Exhibit 8 are excerpts from the deposition of Stanley Swenson taken
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     on June 4, 2014, and a sampling of exhibits (35 and 38) cited during the deposition. This is only a
 9
     sampling, and each exhibit listed in the deposition exhibit sheet was shown and discussed during
10
     the deposition. The exhibits attached as part of Exhibit 8 have been redacted for filing purposes –
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     the versions used in deposition were not redacted. In total there were 13 exhibits identified by
12
     Bates numbers used in the deposition.
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            5.      Attached as Exhibit 9 are excerpts from the deposition of Daniel Bullock taken on
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     June 5, 2014, and a sampling of exhibits (50 and 56) cited during the deposition. This is only a
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     sampling, and each exhibit listed in the deposition exhibit sheet was shown and discussed during
16
     the deposition. The exhibits attached as part of Exhibit 9 have been redacted for filing purposes –
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     the versions used in deposition were not redacted. In total there were 9 exhibits identified by
18
     Bates numbers used in the deposition.
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            6.      Attached as Exhibit 10 is a copy of an email sent from Matthew Gilmartin to G.
20
     Patrick Jennings with Joe Izen Cc’d.
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            7.      Attached as Exhibit 11 is a copy of an email from Joe Izen to G. Patrick Jennings,
22
     with attachments omitted.
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            8.      After I shared a download link for all the previously disclosed documents with
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     Mrs. Shearer, Matthew Gilmartin, and Joe Izen on March 14, 2024, I received an email from
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     Mrs. Shearer confirming she was able to view the documents, and I never received any emails or
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     phone calls from anyone else saying they were having difficulty viewing the documents. My
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     understanding of the reason I did not receive the email attached as Exhibit 4 (ECF 164-4) to
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                                                      2
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     Mr. Izen’s declaration is that, rather than using my DOJ email address, Mr. Izen emailed an
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     unmonitored address associated with the file sharing site (noreply@box.com). Had Mr. Izen
 3
     called me or used my DOJ email address, I could have promptly assisted him with accessing the
 4
     files.
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 6            I declare under the penalty of perjury that the foregoing is true and correct.

 7            Date: April 2, 2024                    /s/ Alexander Stevko
                                                     ALEXANDER STEVKO
 8                                                   Trial Attorney, Tax Division
 9                                                   U.S. Department of Justice

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 1                                  CERTIFICATE OF SERVICE

 2          IT IS HEREBY CERTIFIED that on April 2, 2024, I caused a copy of the foregoing
     Declaration, to be sent to the following by ECF notification:
 3

 4          MATTHEW GILMARTIN,                                Attorney for L. Richard Shearer
            Ohio Bar #024683
 5          Matthew Gilmartin, Attorney at Law, LLC
            P.O. Box 939
 6          North Olmsted, OH 44070
            matt7g@att.net
 7

 8          SHAUN CUNNINGHAM (Local Counsel)                  Attorney for L. Richard Shearer and
            Law Office of Shaun Cunningham                    Diane Shearer
 9          41 Vantis Drive
            Aliso Viejo, CA 92656
10          mrshauncunningham@gmail.com
            JOE ALFRED IZEN, Jr                               Attorney for Stanley Swenson as
11          5222 Spruce Street                                Trustee of the Hotlum Trust, the
            Bellaire, TX 7740                                 Berryvale Trust and the Regency
12          jizen@comcast.net                                 Trust
            JIHAD M. SMAILI (Local Counsel)                   Attorneys for Stanley Swenson as
13          SMAILI & ASSOCIATES                               Trustee for Hotlum, Berryvale, and
            615 Civic Center Drive West, Suite 300            Regency Trusts
14          Santa Ana, CA 92701
            jihad@smaililaw.com
15

16         I also certify that on the same day I served the following parties by mail and email:

17         Diane Shearer
           701 Pine Street
18         Mt. Shasta, CA 96067
           office@drshearer.com
19         Pro se

20                                                       /s/ Alexander Stevko_______
                                                         ALEXANDER STEVKO
21                                                       Trial Attorney, Tax Division
                                                         U.S. Department of Justice
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